      Case 2:11-cr-00100-SAB              ECF No. 410      filed 04/21/15     PageID.1414 Page 1 of 2
PROB 12C                                                                               Report Date: April 21, 2015
(7/93)

                                       United States District Court                                    FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                                                      for the
                                                                                              Apr 21, 2015
                                          Eastern District of Washington                          SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Ronald Dale Mueller                      Case Number: 0980 2:11CR00100-FVS-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Fred Van Sickle, Senior U.S. District Judge
 Date of Original Sentence: May 4, 2012
 Original Offense:        Dealing in Counterfeit Currency, 18 U.S.C. §§ 473 and 2
 Original Sentence:       Prison - 30 months;               Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Earl A. Hicks                     Date Supervision Commenced: October 31, 2014
 Defense Attorney:        Federal Defender                  Date Supervision Expires: October 30, 2017


                                           PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Mandatory Condition # 4: The defendant shall refrain from any unlawful use of a
                        controlled substance. The defendant shall submit to one drug test within 15 days of release
                        from imprisonment and at least two periodic drug tests thereafter, as directed by the
                        probation officer.

                        Supporting Evidence: On April 15, 2015, Ronald Mueller submitted a urine specimen that
                        yielded initial positive findings for methamphetamine. Mr. Mueller denied use, and the
                        specimen was forwarded to a laboratory for additional testing. On April 21, 2015, a lab
                        report was received from Alere Toxicology revealing the UA specimen was confirmed
                        positive for methamphetamine.
           2            Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                        probation officer and follow the instructions of the probation officer.

                        Supporting Evidence: On April 16, 2015, the undersigned officer personally directed
                        Ronald Mueller to report to the U.S. Probation Office at 8 a.m. on April 17, 2015. Mr.
                        Mueller failed to report as directed, and his current whereabouts are unknown.
     Case 2:11-cr-00100-SAB           ECF No. 410         filed 04/21/15      PageID.1415 Page 2 of 2
Prob12C
Re: Mueller, Ronald Dale
April 21, 2015
Page 2

          3          Standard Condition # 5: The defendant shall work regularly at a lawful occupation unless
                     excused by the probation officer for schooling, training or other acceptable reasons.

                     Supporting Evidence: In February 2015, Ronald Mueller quit his job working at Omega
                     Pacific. He has since failed to secure employment.
          4          Special Condition # 18: You shall undergo a substance abuse evaluation and, if indicated
                     by a licensed/certified treatment provider, enter into and successfully complete an approved
                     substance abuse treatment program, which could include inpatient treatment and aftercare.
                     You shall contribute to the cost of treatment according to your ability to pay. You shall
                     allow full reciprocal disclosure between the supervising officer and treatment provider.

                     Supporting Evidence: Ronald Mueller failed to attend outpatient treatment at Adept on
                     April 13 and 20, 2015.

          5          Special Condition # 19: You shall abstain from the use of illegal controlled substances, and
                     shall submit to urinalysis testing, as directed by the supervising officer, but no more than six
                     tests per month, in order to confirm continued abstinence from these substances.

                     Supporting Evidence: Ronald Mueller failed to report for urinalysis substance abuse testing
                     on April 13, 2015.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the defendant to
answer the allegations contained in this petition.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:      April 21, 2015
                                                                             s/Richard Law
                                                                             Richard Law
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
                                                                              s/Fred Van Sickle
                                                                             Signature of Judicial Officer

                                                                              April 21, 2015
                                                                             Date
